Case 1:15-cr-00128-MAC-ZJH          Document 79        Filed 12/21/15     Page 1 of 5 PageID #:
                                           186




                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

UNITED STATES OF AMERICA                        §
                                                §
VS.                                             §   CASE NO. 1:15-CR-128(2)
                                                §
KEZAVIEN DERMAIN ROBERTS                        §

         FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
              BEFORE THE UNITED STATES MAGISTRATE JUDGE

       By order of the District Court, this matter was referred to the undersigned United States

Magistrate Judge for administration of a guilty plea and allocution under Rules 11 and 32 of the

Federal Rules of Criminal Procedure. Magistrate judges have the statutory authority to conduct a

felony guilty plea proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United

States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

       On December 15, 2015, this cause came before the undersigned United States Magistrate

Judge for entry of a guilty plea by the defendant, Kezavien Dermain Roberts, on Count Two of

the charging Superseding Indictment filed in this cause. Count Two charges that on or about

June 4, 2015, in the Eastern District of Texas, Kezavien Dermain Roberts, defendant, knowingly

possessed a firearm, to wit: one Cobra .380 caliber pistol, bearing serial number FS091654,

during and in furtherance of a drug trafficking crime for which he may be prosecuted in a court

                                              -1-
Case 1:15-cr-00128-MAC-ZJH          Document 79          Filed 12/21/15    Page 2 of 5 PageID #:
                                           187



of the United States, namely, possession of cocaine base with intent to distribute and possession

of Alprazolam with intent to distribute in violation of 21 U.S.C. § 841(a)(1), all in violation of

18 U.S.C. § 924(c).

       Defendant, Kezavien Dermain Roberts, entered a plea of guilty to Count Two of the

Superseding Indictment into the record at the hearing.

       After conducting the proceeding in the form and manner prescribed by Federal Rule of

Criminal Procedure 11 the Court finds:

       a.      That Defendant, after consultation with counsel of record, has knowingly, freely

and voluntarily consented to the administration of the guilty plea in this cause by a United States

Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

sentence by the District Court.

       b.      That Defendant and the Government have entered into a plea agreement and a

plea agreement addendum which were disclosed and addressed in open court, entered into the

record, and placed under seal.

       c.      That Defendant is fully competent and capable of entering an informed plea, that

Defendant is aware of the nature of the charges and the consequences of the plea, and that the

plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

personally in open court, the Court determines that Defendant’s plea is voluntary and did not

result from force, threats or promises. See FED. R. CRIM. P. 11(b)(2).

       d.      That Defendant’s knowing, voluntary and freely made plea is supported by an

independent factual basis establishing each of the essential elements of the offense and Defendant



                                               -2-
Case 1:15-cr-00128-MAC-ZJH            Document 79         Filed 12/21/15   Page 3 of 5 PageID #:
                                             188



realizes that his conduct falls within the definition of the crime charged under 18 U.S.C. § 924(c).

                                   STATEMENT OF REASONS

        As factual support for Defendant’s guilty plea, the Government presented a factual basis.

See Factual Basis and Stipulation. In support, the Government and Defendant stipulated that if

this case were to proceed to trial the Government would prove beyond a reasonable doubt,

through the sworn testimony of witnesses, including expert witnesses, and through admissible

exhibits, each and every essential element of the crime charged in Count Two of the Superseding

Indictment. The parties further stipulated that the Government would also prove that the

defendant is one and the same person charged in Count Two of the Superseding Indictment and

that the events described in the Superseding Indictment occurred in the Eastern District of Texas.

        The Court incorporates the proffer of evidence described in detail in the factual basis and

in the record at the guilty plea in support of the guilty plea.

        Defendant, Kezavien Dermain Roberts, agreed with and stipulated to the evidence

presented in the factual basis. Counsel for Defendant and the Government attested to Defendant’s

competency and capability to enter an informed plea of guilty. The Defendant agreed with the

evidence presented by the Government and personally testified that he was entering his guilty

plea knowingly, freely and voluntarily.

                                RECOMMENDED DISPOSITION

        IT IS THEREFORE the recommendation of the undersigned United States Magistrate

Judge that the District Court accept the Guilty Plea of Defendant which the undersigned

determines to be supported by an independent factual basis establishing each of the essential



                                                 -3-
Case 1:15-cr-00128-MAC-ZJH            Document 79       Filed 12/21/15     Page 4 of 5 PageID #:
                                             189



elements of the offense charged in Count Two of the charging Superseding Indictment on file

in this criminal proceeding. The Court also recommends that the District Court accept the plea

agreement and the plea agreement addendum pursuant to Federal Rule of Criminal Procedure

11(c). Accordingly, it is further recommended that Defendant, Kezavien Dermain Roberts, be

finally adjudged as guilty of the charged offense under Title 18, United States Code, Section

924(c).

          Defendant is ordered to report to the United States Probation Department for the

preparation of a presentence report. At the plea hearing, the Court admonished the Defendant that

the District Court may reject the plea and that the District Court can decline to sentence

Defendant in accordance with the plea agreement, the federal sentencing guidelines and/or the

presentence report because the sentencing guidelines are advisory in nature. The District Court

may defer its decision to accept or reject the plea agreement and addendum until there has been

an opportunity to consider the presentence report. See FED. R. CRIM. P. 11(c)(3). If the Court

rejects the plea agreement, the Court will advise Defendant in open court that it is not bound by

the plea agreement and Defendant may have the opportunity to withdraw the guilty plea,

dependent upon the type of the plea agreement. See FED. R. CRIM. P. 11(c)(3)(B). If the plea

agreement is rejected and Defendant still persists in the guilty plea, the disposition of the case

may be less favorable to Defendant than that contemplated by the plea agreement and addendum.

Defendant has the right to allocute before the District Court before imposition of sentence.

                                           OBJECTIONS

          Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen



                                                -4-
Case 1:15-cr-00128-MAC-ZJH           Document 79        Filed 12/21/15     Page 5 of 5 PageID #:
                                            190



(14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1).

       A party’s failure to object bars that party from: (1) entitlement to de novo review by a

district judge of proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275,

276-77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error of unobjected-to

.factual findings and legal conclusions accepted by the district court, see Douglass v. United Servs.

Auto. Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The constitutional safeguards afforded

by Congress and the courts require that, when a party takes advantage of his right to object to a

magistrate’s findings or recommendation, a district judge must exercise its nondelegable authority

by considering the actual evidence and not merely by reviewing and blindly adopting the

magistrate’s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th Cir.

1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).



                  SIGNED this the 21st day of December, 2015.




                                                     ____________________________________
                                                     KEITH F. GIBLIN
                                                     UNITED STATES MAGISTRATE JUDGE




                                               -5-
